     Case 21-14486-abl          Doc 149     Entered 12/03/21 12:51:00        Page 1 of 2



 1   CLARISSE L. CRISOSTOMO, ESQ., Bar No. 15526
     Email: clarisse@nv-lawfirm.com
 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd, Suite 130
     Las Vegas, NV 89119
 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6                             UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA
 7
      In re:                                                 Case No. 21-14486-abl
 8                                                           Chapter 7
 9
      INFINITY CAPITAL MANAGEMENT, INC.
      dba INFINITY HEALTH CONNECTIONS,                       ATTORNEY INFORMATION
10                                                           SHEET
                              Debtor.
11

12
               Pursuant to LR 9006(a), this Attorney Information Sheet has been prepared regarding
13
     the Trustee’s OST motion entitled EX PARTE MOTION FOR ORDER SHORTENING TIME.
14
               The estimated time for hearing is five minutes. The requested OST hearing date is
15
     on or before December 22, 2021 or as soon as possible thereafter. The OST request will
16
     not be moot if the underlying motion is heard after that date; however, the Motion seeks to
17
     sell the Assets, as defined in the Motion, because further delay of the sale for the bankruptcy
18
     estate will be detrimental due to the assets potentially depreciating in value daily.
19
               Counsel contacted the following parties with the following results:
20
                    Name
21           (Party Represented)                Date contacted      How Contacted            Result
     Matthew C. Zirzow, Esq.                    November 18,
                                                                         Email               Consent
22   (Attorney for Debtor)                           2021
23
     Michael D. Napoli, Esq.
     (Attorney for Party in Interest            November 18,
                                                                         Email           No Consent
24   Tecumseh – Infinity Medical                   2021
     Receivables Fund, L.P.)
25
     Bart K. Larsen, Esq.
26   (Attorney for Creditor HASelect-           November 18,
                                                                         Email               Consent
     Medical Receivables Litigation                2021
27   Finance Fund International SP)
28




                                                   -1-
     Case 21-14486-abl   Doc 149   Entered 12/03/21 12:51:00     Page 2 of 2



 1   DATED: December 3, 2021             ATKINSON LAW ASSOCIATES LTD.
 2
                                         By:         /s/ Clarisse L. Crisostomo
 3                                             CLARISSE L. CRISOSTOMO
                                               Nevada Bar No. 15526
 4                                             Attorney for Robert E. Atkinson, Trustee
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                        -2-
